      Case 2:16-cr-00199-JAM Document 123 Filed 06/23/20 Page 1 of 1


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    CAROLYN M. WIGGIN, Bar #182732
3    Assistant Federal Defender
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant-Movant
6
     KIONI M. DOGAN
7
8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                 ) No. 2:16-cr-00198-JAM-1
12                                             )     2:16-cr-00199-JAM-1
                     Plaintiff,                )
13                                             )      SEALING ORDER
            vs.                                )
14                                             ) JUDGE: Hon. John A. Mendez
15   KIONI M. DOGAN,                           )
                                               )
16                  Defendant-Movant.          )
                                               )
17                                             )
18           IT IS HEREBY ORDERED that the Request to Seal Exhibit C to Defendant-Movant’s
19   Emergency Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i)
20   (Compassionate Release) be granted so that medical information is not available on the public
21   docket. The Request and its Exhibit C are to be provided to the Court and Assistant United
22   States Attorney Christopher Stanton Hales.
23          These documents shall remain under seal until further Order of the Court.
24          IT IS SO ORDERED.
25
26
          DATED: 6/23/2020                         /s/ John A. Mendez____________
27                                                 JOHN A. MENDEZ
                                                   United States District Court Judge
28


      Dogan: Proposed Sealing Order
